

Matter of Conway (2022 NY Slip Op 04344)





Matter of Conway


2022 NY Slip Op 04344


Decided on July 7, 2022


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered:July 7, 2022

PM-121-22
[*1]In the Matter of Richard J. Conway Jr., an Attorney. (Attorney Registration No. 2365187.)

Calendar Date:July 5, 2022

Before:Garry, P.J., Lynch, Ceresia, Fisher and McShan, JJ.

Richard J. Conway Jr., Lancaster, Pennsylvania, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.



Per Curiam.
Richard J. Conway Jr. was admitted to practice by this Court in 1990 and lists a business address in Florham Park, New Jersey with the Office of Court Administration. Conway now seeks leave to resign from the New York bar for nondisciplinary reasons (see  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) advises that it does not oppose Conway's application.
Upon reading Conway's affidavit sworn to May 18, 2022 and filed May 25, 2022, and upon reading the June 29, 2022 correspondence in response by the Chief Attorney for AGC, and having determined that Conway is eligible to resign for nondisciplinary reasons, we grant his application and accept his resignation.
Garry, P.J., Lynch, Ceresia, Fisher and McShan, JJ., concur.
ORDERED that Richard J. Conway Jr.'s application for permission to resign is granted and his nondisciplinary resignation is accepted; and it is further
ORDERED that Richard J. Conway Jr.'s name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that Richard J. Conway Jr. is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Conway is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold himself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that Richard J. Conway Jr. shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to him.








